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IN THE UNITED STATES DIS'I`RICT COURT
FOR THE NORTHERN DISTRICT OF ILLlNOIS
EASTERN DIVISION

LABORERS’ PENSION FUND and
LABORERS’ WELFARE FUND OF THE
HEALTH AND WELFARE DEPARTMENT
OF THE CONSTRUCTION AND GENERAL
LABORERS’ DISTRICT COUNCIL OF
CHICAGO AND VICINITY, THE CHICAGO )
LABORERS’ DISTRICT COUNCIL RETIREE )

HEAL'I`H AND WELFARE FUND and )
CATHERINE WENSKUS, Assistant )
Administratol' of the Funds, )
)
Plaintiffs, ) Case No. 17 C 8497
V- )
) Judge
ONSITE CONSTRUCTION SERVICES, INC., )
an Indiana corporation, )
)
I)efendant. )
Q.QM

Plaintiffs Laborers’ Pension Fund and Laborers’ Welfare Fund of the Health and Welfare
Department of the Construction and General Laborers’ District Council of Chicago and Vicinity,
the Chicago Laborers’ District Council Retiree Health and Welfare Fund, and Catherine
Wenskus, Assistant Administrator of the Funds (hereinafter collectively “Funds”), by their
attorneys, Patrick T. Wallace, len'od Olszewski, Amy N. Carollo, G. Ryan Liska, Katherine C.
Mosenson and Kelly Carson Burtzlaff for their Complaint against Defendant Onsite Constl'uction
Services, Inc.:

COUNT I
(F ailure to rI`imely Pa_y Emplayee Benefit Contributions)
1. Jurisdiction is based on Sections 502(e)(1) and (2) and 515 of the Employee

Retirement Incomé Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§1132 (e)(l) and

 

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(2) and 1145, Section 301(a) of the Labor Managernent Relations Act (“LMRA”) of 1942 as
amended, 29 U.S.C. §lSS(a), 28 U.S.C. §1331, and federal common law.

2.. Venue is proper pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §i l32(e)(2),
and 28 U.S.C. §1391 (a) and (b).

3. The Funds are multiemployer 'i`rusts established pursuant to Section 302(0)(5) of
the LMRA. 29 U.S.C. § 186(c)(5). The Funds maintain their respective Plans, which are
multiemployer benefit plans within the meanings of Sections 3(3) and 3(37) of ERISA, 29
U.S.C. § 1002(3) and 37(A), pursuant to their respective Agreements and Deciarations of Trust
in accordance with Section 302(0)(5) of the LMRA. The Funds have offices and conduct

business within this District.

4. Plaintiff` Catherine Wenskus is the Assistant Administrator of the Funds, and has
been duly authorized by the Funds’ Trustees to act on behalf of the Funds in the collection of`
employer contributions owed to the Funds and to the Construction and General District Council
of Chicago and Vicinity Training Fund, and with respect to the collection by the Funds of
amounts which have been or are required to be withheld from the Wages of employees in
payment of` Union dues for transmittal to the Construetion and Generai Laborers’ District
Council of Chicago and Vicinity (the “Union”). With respect to such matters, Wenskus is a
fiduciary of the Funds within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C.

§1002(21)(A).

5. Def`endant Onsite Construction Services, Inc. (hereinafter “Company”) conducts
business Within this District and Was at all times relevant herein an employer within the meaning
of Section 3(5) of ERISA, 29 U.S.C. §1002(5), and Section 301(3) of the LMRA, 29 U.S.C.

§185(¢).

 

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6. The Union is a labor organization within the meaning of 29 U.S.C.

§lSS(a). The Union and Company have been parties to a collective bargaining

agreement, which became effective July 13, 2017. (“Agreement”). (A copy of the “short form"
Agreement entered into between the Union and Company which Agreement adopts and

incorporates Master Agreernents between the Union and various employer associations, and also
binds Company to Funds’ respective Agreernents and Declarations of Trust is attached hereto as

Exhibrt A.)

7. The Funds have been duly authorized by the Construction and Generai Laborers’
District Council of Chicago and Vicinity Training Fund (the “Training Fund”), the Midwest
Construction Indu`Stry Advancement Fund (“MCIAF”), the Chicagoland Construction Safety
Council (the “Safety Fund”),-the Laborers’ Employers’ Cooperation and Education Trust
(“LECET”), the Builders Association (“BAC”), Chicago Area Independent Construction
Association (“CAICA”), the CISCO Uniform Drug/Alcohol Abuse Program (“CISCO”), the
Industry Advancement Fund (“IAF”), and the Laborers’ District Council Labor Management
Committee Cooperative (“LDCLMMC”), t0 act as an agent in the collection of` contributions due

to those funds.

8. The Agreement and the Funds’ respective Agreements and Declarations of Trust
obligate Company to make contributions on behalf of its employees covered by the Agreement
for pension benefits, health and Welfai'e benefits, for the training fund and to submit monthly
remittance reports in which Company, inter alia, identifies the employees covered under the
Agreement and the amount of contributions to be remitted to the Funds on behalf of each

covered employee Pursuant to the terms of the Agreement and the Funds’ respective

 

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(c) failed to submit reports and contributions owed to Plaintiff Laborers’ District
Council Retiree Healtli and Welfare Fund of the Construction and Generai Laborers’ District
Council of Chicago and Vicinity for the period of July 2017 forward, thereby depriving the
Retiree Welfare Fund of contributions, income and information needed to administer the Fund

and jeopardizing the health and Welfare benefits of the participants and beneficiaries;

(d) failed to submit reports and contributions to Laborers’ Training Fund for the
period of .iuly 2017 forward , thereby depriving the Laborers’ Training Fund of contributions,
income and information needed to administer the Fund and jeopardizing the training fund

benefits of the participants and beneficiaries; and

(e) failed to repolt and pay all contributions owed to one or more of the other
affiliated funds identified above for the period of July 2017 forward , thereby depriving said
fund(s) of contributions, income and information needed to administer said fund(s) and

jeopardizing the benefits of the participants and beneficiaries

12. Company’s actions in failing to submit timely reports and contributions violate
Section 515 ofERlSA, 29 U.S.C. §1145, and Section 301 ofthe LMRA. 29 U.S.C. §185, and

federal common law interpreting ERISA, 29 U.S.C. §1132 (g)(2).

13. Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132 (g)(2), Section 301 of
the LMRA, 29 U.S.C. §185, federal common iaw, and the terms of the Agreement and the
Funds’ respective Trust Agreements, Company is liable to the Funds for delinquent
contributions, liquidated damages, interest, audit costs, reasonable attorneys’ fees and costs, and

such other legal and equitable relief as the Court deems _appropriate.

 

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WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against

Defendant Onsite Construction Services, lnc. as follows:

a. ordering Onsite Construction Services, lnc. to submit benefits reports and

contributions for the time period of July 2017 forward ;

b. entering judgment in sum certain against Onsite Construction Services, lnc., on
the amounts due and owing pursuant to the amounts pleaded in the Comp`laint, the Iuly 2017
forward reports, if any, including contributions, interest, liquidated damages, and attorneys’ fees

and costs;

c. ordering Onsite Construction Services, inc. to obtain and maintain a surety bond

in accordance with the terms and conditions of the agreement; and

d. awarding Plaintiffs any further legal and equitable relief as the Court deems

appropriate
COUNT II
(F ailure To Submit Reports and Pay Union Dues)

14. Plaintiffs reallege paragraphs 1 through 13 of Count 1 as though fully set forth

herein.

15. Pursuant to agreement,r the Funds have been duly designated to serve as collection
agents for the Union in that the Funds have been given the authority to collect from employers
union dues which should have been or have been deducted from the wages of covered

employees

 

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16. Dues reports and contributions are due by the 103h day following the month in
which the work was performed Dues reports and contributions which are not submitted in a

timely fashion are assessed liquidated damages.

17. Notwithstanding the obligations imposed by the Agreement, Company has
performed covered work during the months of July 2017 forward and has failed to withhold
and/or report to and forward union dues that were deducted or should have been deducted from
the wages of its employees for the period of July 2017 forward, thereby depriving the Union of

income and information.

18. Pursuant to the Agreement, Company is liable to the Funds for the unpaid union
dues, as Well as liquidated damages, audit costs, reasonable attorneys’ fees and costs as the
Union’s collection agent, and such other legal and equitable relief as the Court deems

appropriate

WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendant Onsite Construction Services, lnc.:

a. ordering Onsite Construction Services, lnc. to submit its July 2017 forward

reports and contributions;

b. entering judgment in sum certain against Onsite Construction Services, Inc. on the
amounts due and owing, if any, as revealed by the reports to be submitted, including dues

Contributions, liquidated damages, and attorneys’ fees and costs; and

 

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c. awarding Plaintiffs any further legal and equitable relief as the Court deems
appropriate
November 22, 2017 Respectfully submitted,

LABORERS’ PENSION FUND, et al.

By: /s/ G. Ryan Liska

Laborers’ Pension and Welfare Funds
Office of Fund Counsel

111 W. Jacl<sonBlvd., Snite 1415
Chicago, IL 60604

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